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AO 91(Rev.11/11) CriminalComplai
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                                                                                                                   -    Ur
                                U NITED STATES D ISTRICT C OURT                                      AT.ROFAIL
                                                                                                             NE
                                                                                                              OOKE.V>
                                                         forthe
                                            W estern DistrictofVirginia
                                                                                                     I.
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                                                                                                              2'
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                                                                                               JUI.1A a        EX X -cG
               United StatesofAmerica                                                         RK.
                                                                                                    - os
                                                                                                    ..        cuupvx
                           V.

            AlejandroESCARCEGA-AViIa                            CaseNo.         . 4 - W-ze


                      Depndantls)

                                          C RIM IN A L C O M PLA IN T
        1,the com plainantin thiscase,statethatthefollowing istruetothebestofmy knowledge and belief.
Onoraboutthedatets)of January2015toOctober2019 inthecountyof                              Henry                inthe
   W estern    Districtof    Virginia     ,thedefendantts)violated:
          CodeSection                                              OyenseDescri
                                                                              ption
18U.S.C.Sec.1956(h)                      Conspiracyto CommitMoneyLaundering




        Thiscriminalcomplaintisbased onthesefacts:
See attached affidavit.




        d Continuedontheattachedsheet.

                                                                                Com Iainant'
                                                                                           ssignat re

                                                                      ChristopherYoung,DEA Task Force Officer
                                                                                Printed nameandtitle

Sworn to beforem eand signedin my presence.


Date:                     1( 7ô>4
                                                                                  Judge'
                                                                                       ssi
                                                                                         gnature

City andstate:                      Roanoke,VA                             The Honorable RobertS.Ballou
                                                                                 Printednameandtitle
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           W ESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

   UNITED STATES OF AM ERICA                        SEA LED

                  V.                                No: 4 :zp-zor -s-
   M UEJANDRO ESCV CEGA-AVILA



                            A FFID AV IT IN SUPPOR T OF A
                  CR IM IN AL C O M PLA IN T AN D AR R EST W AR R AN T

           1,CluistopherN .Young,beingtirstduly sworn,hereby deposeand stateas

   follow s:

               Ihavebeen aTask Force Officerwith theUnited StatesDrug Enforcem ent

Administration (DEA)sinceOctober,2008.Iam currently assignedtoEnforcementGroup25,
RoanokeResidintOffice(RRO),oftheDEA W ashingtonDivisionOficeandhavebeen
em ployed by the H enry County SheriY s Office forover 19 years.Iam an Gtinvestigative or1aw

enforcementofticer''oftheUnitedStateswithinthemeaningofSection2510(7)ofTitle18of
theUnited StatesCode,and am empowered by law to conductinvestigationsof,andto make

arrestsfor,offensesin violation ofTitle 18andTitle21oftheUnited StatesCode.

               lhave receivedtraining in al1areasofnarcoticsinvestigationsincluding search

and seizurelawsand statutespertainingto enforcem entofthe Controlled SubstancesAct. Since

becom ing aDEA Task ForceOfticerin 2008,Ihave eitherconducted orassisted otherlaw

enforcem entofficers in conducting num erous narcoticsinvestigationsthathave resulted in the

arrestand conviction ofnum erousindividuals. Ihave participated in anum ber ofdrug

trafficking,m oney latm dering,and organized crim e investigationsthathave resulted in the arrest


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ofnum erousmem bersofseveraldifferentinternationalanddom esticdrug trafscking

orgnnizationsand theseizureofcurrency,assets,and drugs.1haveparticipated in m any

searchesofresidencesand businessesofsuspected dl'ug traffickersforevidenceofcriminal

activity. Ihavealso conducted andparticipated in thedebriefng ofm any drugtrafGckersand

m oney launderers,through which Ihavelearned valuableinform ation regarding theteclmîques
usedby drugtraffckingorganizationsto distributedrugsin both dom esticand international

m arkets.Asaresultofmy training and experience,1am fnmiliarwith theway in which drug

trafficking organizationsillegally traffic,transport,and distributedrugsand laundertheproceeds

derived from theirdrug distribution activity.

       3.     Thefactsin thisaffidavitcomefrom m y training and experienceaswellas

infonnation obtained from other1aw enforcementofficersand interviewswith witnesses. A11

observationsIdidnotpersonally m akewererelayedto m ebytheindividualswho madethem ,or

come from my review ofrecords,documentssand otherphysicalevidenceobtained duringthe

courseofthisinvestigation. Thisaffidavitisintended toshow only thatthereissuffcient

probablecause fortherequested warrantand doesnotsetforth allofm y knowledgeaboutthis

m atter.

       4.      Thisaffidavitissubmitted in supportofacrim inalcom plaintand an arrest

warrantchargingAlejandroESCARCEGA-AViIawithconspiracytocommitmoneylatmdering
inviolationof18U.S.C.j1956(h).
                                    PROBABLE CAUSE

       5.     D uring the cotlrse ofthe investigation beginning in M arch 2015,D EA ItR O,H Sl

RoanokeOffice,andHenry County,Virginia,Sheriff'sOffice(HCSO),determinedthatalarge-
scale,M exican-based,D TO/M LO wasoperating f'
                                             rom A xton,V irginia,and G reensboro,N orth



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Carolina. Thisinvestigation revealedthattheinternationalDTO/M LO used stash house

locationsin Axton,Virginia,to m ovelargequantitiesofdrugsthzough them id-Atlanticand

eastern halfoftheUnited States.The individualsoperatinginAxton and Greensboro reported

directly to,and received direction and instruction hom ,mem bersofthe CartelJalisco Nueva

Generacion IC.
             INGIcriminalorganizationinM exico.l
       6.      InJlme2016,DEA lkRO wascontactedbytheDEA DallasFieldDivision(DEA
DFD)aboutatractortrailerthatarrivedinDallas,Texas,topickupalargçpieceofequipment.
Based on theirindependentinvestigation into drug traffickingactivity,theDEA DFD suspected

the equipm entcontained a large nmountofcocainethatwasdestined fortheM M insville,

Virginia,area. Agentswith DEA DFD approachedthetnzck driver,who provided a billof

lading showing an addressto abusinessin M artinsville.

       7.      Approxim atelythree dayslater,DEA RRO conducted surveillancein the areaof

thebusinessand observed thetractortrailerarriveatthebusinessatapproximatqly 6:50 nm .A

shorttimelater,anunidentifedHispanicmale('IUM 1'')anivedatthebusinessinablack 2016
Ford Fiestarentalcar,N orth Carolinaregistration EBW -4429,and rem oved the equipm entfp m



1Based on m y training, experience,and the inform ation gathered from federallaw enforcem ent
agencies investigating this organization in M exico and the United States,and the information
dete
   'rmined in other investigations in the DEA RRO, 1 know that Cm G is a M exican-based
criminalorgnnization controlling thelarge majority ofcocaine,heroin,and methamphetamine
trafficking in southern and westem M exico. Based originally in Guadalajara,Jalisco,M exico,
CJNG hasrecruited individualsfrom the regions ofJalisco,Nayarit,and Veracruz to transport
drugs across the M exican border and to distribute dnzgs in areas of the W estern District of
V irginia,including A xton,V irginia,and W inchester,V irginia. O nce in A xton,CJN G m em bers
and their associates m aintained several residential properties for the purpose of receiving,
storing,packaging,and distributing m ultiple kilogram s of cocaine,m ultiple kilogram s ofheroin,
andmultiplepoundsofmarijuanatheyf'
                                 urtherdistributed.ThoseCJNG membersandassociates
received lazge nm ounts of United States currency as paym entfor the controlled substances,and
transm itted that currency to mem bers and aftiliates of CJNG based in M exico, fiequently
laundering the m oney through w ire transfers and bnnk accounts,and often transferring bulk cash
to coconspiratorsengaged in money laundering activities.

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thetrailer.UM 1 stayed a very shorttim eandbriefly leftthebusinessin theFord Fiesta.UM 1

rettmzedto thebusinessand drovetheequipm entintoawazehousebuilding. Subsequently,UM

1andanotherllnidentiliedHispanicmaleCSUM 2')leftthebusinessintheFordFiestaanddrove
repeatedlyback and forth in frontofthebusiness,conducting whatappeared to be cotmter-

surveillance.A shorttim elater,UM 1and UM 2 m etwith thedriverofabluem ini-van,

Virginia registration VM D-3980,laterdetennined to beESCARCEGA-AViIa.Surveillance

unitsobserved ESCARCEGA-AViIaentertheFordFiestawith UM 1and UM 2,anda11tlzree

subjectsleftthearea.Forapproximately20minutes,thethreesubjectsdroverepeatedlybackand
forth in frontofthebusiness,again conducting whatappeared tobecounter-surveillance.A11

threesubjectsthengotinESCARCEGA-AViIa'Sbluevall,anddroveinthesnmemamlerin
frontofthebusiness,conducting whatappeared to beadditionalcotmter-surveillance.

      8.     Laterin theafternoon,law enforcem entsurveillance observed a silverToyota

arriveatthebusinesswheretheequipmentwasdelivered,followedby the black Ford Fiesta.

Afterapproxim atelythreehours,thesilverToyota and black Ford Fiesta leftthe business.A

trafficstop wasconducted on thesilverToyota.A narcoticsK-9 was.utilized to conductafreeair

sniffaround thesilverToyota,which had apositive alertforthe presenceofnarcotics.Law

enforcementseazched the vehiclebutdid notlocateany drugs.

             On February 1,2018,1aw enforcem entconducting an investigation into thesnme

internationalDTO/M LO executedatotalofseven(7)search warrantsonresidentiallocationsin'
and aroundAxton,Virginia,and onevehiclestop afteran intercepted comm unication indicated

thatthedriverhad picked up adelivery ofcocainefrom hissotlrcesofsupply,Jose Alfredo

SAN TACRUZ-GOCEneZ and Rogelio SANTACRUZ-GOdineZ. Asaresultofthese1aw

enforcem entactions thatday,investigatorsrecovered 11 kilogram sofcocaine,5 pounds of


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marijuana,10differentfirennns,andover$100,000ofUS Currency.Both JoseAlâedo
SANTACRUZ-GOCIineZ and Rogelio SANTACRUZ-GOdineZ were chargedwith afederaldrug

traffckingconspiracy,and JoseAlfredo SANTA CRUZ-GOdineZ waslatercharged with a

federalmoney laundering conspiracy.

       10.    On July 11,2018,DEA RRO arld Virginia State Policeexecutid astatesearch

wan'
   antataresidencein M artinsville,Virginia,following the controlled delivery of

approximately 15poundsofmarijuanathathadbeeninterceptedbytheVirginiaStatePolice
wlzile scanning packagesfordnzgs.z During thesearch,1aw enforcementobserved am oney

cotmting machine,adrug ledgerdetailing more than $4,000,000in cocaine transactions,and
somefirearm s.Francisco ALvztlv z-consuelowaspresentattheresidencedtuingthestate
search w arrant, andhadauseramountofmari
                                       ju'anainhispocket.a.
              Severalmonthslater,in 2018,DEA 11R0 received information f'
                                                                        rom a

cov dentialsourceofinformation(CS 1)thatmembersoftheintemationalDTO/M LO had
provided CS 1w ith thenam esofindividualswhowere to receivelargequantitiesofcocaine and

marijuanafrom CS 1forfurtherdistribution.ALvM kEz-consueloandM elitonROSALES-
Alvarezweretwo ofthoseindividuals,and CS 1identified both asdrug associatesworking with



2The package w as initially delivered to 1711 Plantation D rive, Axton,Virginia,whereitwas
picked up,driven directlyto theM artinsville address,and canied inside.Thepackagewas
deliveredto thesnmeresidentialadclressin Axton,Virginia,thatwasused on M arch 8,2015,as
a stash location for5kilogrmnsofcocainerecovered by law enforcement along with wire
transferdocumehts,digitalscales,anddnzgpackaging material.Thatsam eaddressappeared as
the delivery location fora com m ercialdelivery of478 gram s ofm etham phetnm ine on April8,
2016,which wassubsequently intercepted by 1aw enforcem ent.

3CesarGONZALEZ-PaRaowned theM artinsvillehom e, andwaspresentdtuingthesearch.
G ON ZA LEZ-P= a and Jose Alfredo SA N TA CRUZ-G OCIineZ had been presentduring a
September2015m eeting with an undercoveragentwith HSIin Richmond,Virginia,inwhich
GONZALEZ-PaUa and SANTACRUZ-GOCEneZ werenegotiating thetransferof20 kilogramsof
cocaine.
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ESCARCEGA-AViIa.A saresultofthe direction received by m embersoftheinternational

DTO/M LO operating in M exico,CS 1distributed approximately 20kilogrnmsofcocaineto

ALVAREZ-Consuelo,andapproximatelysix(6)kilogrmnsofcocainetoROSALES-AIVreZ.
       12.    In Septem ber2018,1aw enforcem entconducted atraffic stop involving AnaBella

SANCHEZ-W OS,afterobservingherdriving avehiclethatpicked up acontrolled delivery of20

potmdsofmarijuanafrom asuspectedstashhousefortheintem ationalDTO/MLO.Atthattime,
SANCHEZ-RiOSwasthe ownerand operatorofam oney servicebujinessin Axtoh,Virginia,

thatCS 1lateridentiied asapointofmoney laundering fordrug proceedsfortheintem ational

DTO/M LO. lnvestigatorsconducted an extensiveexam ination oftheintem ationalwiretransfers

sentfrom SAN CHEZ-RiOS'Sbusinessto Ixtlan de1ltio,N ayarit,M exico. Based on that

extensiveinvestigation,law enforcem entidentified morethml$4,000,000 in drugtraffcking
proceedslalmdered by wiretransferson behalfofthisDTO/M LO overaperiodof16m onths.

Law enforcem entrecovered explicitcomm unicationsbetween am emberoftheinternational

DTO/M LO operating in M exico and SAN CHEZ-W OS,directing SAN CHEZ-Y OSto sendm oney

deliveredto herin cash to specificrecipientsin M exico during thattim e,and to stnzcttlrethe

transfersin an effortto avotd 1aw enforcem entdetection.Thesetransactionswere sentin the
nam es ofseveraldifferentindividuals,and w ere sentto severaldifferentindividuals in Ixtlan del

Itio. Severalotherlem bersoftheintem ationalDTO/M LO,including ESCARCEGA-AViIa,

transferredm öneyusing SANCHEZ-W OS'Sbusinessto lxtlan delRio.

       13.    Additionally,dtlring an examination ofthecellulardevicebelonging to

SAN CHEZ-RiOSduringthe September2018trafficstop,law enforcem entidentified explicit

communicationsbetween aphonenumbersubscribed to an individualliving at1738M organ

Ford Road,Ridgeway,Virginia,and SANCHEZ-RiOS,directing SANCHEZ-RiOSto send m oney


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deliveredto herin cash to specificrecipientsin M exico and California. Law enforcem ent

believesthatESCARCEGA-AViIawasusing thatntlmberatthattim e.

              In 2019,agentswith DEA 1,DEA 2,DEA 3,andDEA 4 developed two

confidentialsources(CS)with informationpertainingtomoneylaunderingoperationsonbehalf
ofCJNG. Specifcally,each CS received acontracttoperfonn money laundering serviceson

behalfof CJN G ,and the contractinvolved a specific m oney transaction or series ofm oney

transactionsspread acrosstheUnited States.In theircapacity workingunderthiscontract,each

CS would receive inform ation from amem berofCJNG thattherewasbulk cash ready forpick

up,each CS w ould arrangefora courierto pick up thecurrency from amemberorassociateof

CJNG,and each CS wouldensurethatbulk cash waslaundered in the specifcway identified by

CJNG forthoseproceeds.

       15.     Formonths,DEA 1,DEA 2,atldDEA 3eachusedtheirrespectiveCS (CCDEA 1
CS,''CtDEA 2 CS,''andGSDEA 3CS'')successfullytoretrievedrugproceedsinotherjudicial
districtswith ongoing investigationsofC-
                                       JNG'Sdrugtraffckingand money laundering activity.

Through these and through investigationsin theirown districts,DEA 1,DEA 2,and DEA 3 have

identified individualsresponsibleforordering theirrespectiveCS to collectand launderdrug

proceedson behalfofCJNG.

                        Controlled BulkCash Delivery:M arch 21,2019

              In M azch 2019,DEA 1CS provided DEA 1with information indicating thata

transferofdrug proceeds w as scheduled to occurin Axton,V irginia. D EA 1 CS provided D EA

1with (434)857-6954 asthecontactpersontodrop offtheU.S.Currency.DEA RRO issuedan
Administrative Subpoenato Verizon W irelessforsubscriberand tollrecordsaf
                                                                        ssociated with




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(434)857-6954,andsubsequentlydeterminedthenumberwassubscribedtoAidenHdz,1162
PineyForestRoad,Danville,Virginia.4

               Subsequently,DEA 1obtainedastatetrackingwarrant(ping)for(434)857-6954
and observed the operatorofthedevice bearing thatcellulartelephonenum bercontinuously '

show in the area ofRidgeway,Virginia,which islocated in Herlry Cotmtyin the W estern

D istrictofV irginia. B ased on previousinform ation received by D EA ItR O ,the ping wasin the

sam e generalarea asthe residence associated w ith ESC AR C EG A -A ViIa. D EA 1tRO requested

assistancefrom HCSO to attemptto identify vehiclesattheresidence,using aruseto conceal

theirapproach.Law enforcementofficersobserved vehiclesparked attheresidence,at1738

M organ Ford Road,Ridgeway,Virginia,including a2007 blueHondavan with Virginia

registration VM D-3980,which wasthesamevehicleobserved during surveillance ofthe

suspected drug delivery in June2016.During the interaction with theHCSO deputy atthe

residencein M arch 2019,thedeputy'sbody worn cam eracapturedtheconversation with a

Hispanicm ale,laterpositively identified by agentsin tllisinvestigation reviewingthefootageas '

ESCARCEGA-AViIa.Thepingfor(434)857-6954remainedattheresidenceovemight,and
agentsconducting surveillance neartheresidence did notseethevehicleleavetheresidence

during thattim e.

       18.     Onthefollowingday,thepingon(434)857-6954appearedintheareaofAxton,
Virginia.DEA RRO travelled around theareaofthe ping andlocated ablue Hondavan,believed

to bethesamevehicleobserved attheRidgeway residenceassociated with ESCARCEGA-




4A search of1aw enforcem entdatabasesdoesnotshow thenam eofAiden Hdzresidingatthe
subscriberaddress oreven existing in V irginia.


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Avila and from theprevioussurveillance operation in June 2016.5 On thisday, thatblueHonda

van wasatan addressassociated with AtavAlv z-consuelo and hisbrother,M eliton

ROSALES-AIVaR Z.

       19.     During the investigation,DEA RRO provided undercover/confidentialsource

assistance,usingaconsdentialsource(CS 2),toarrangeforthepick-upofapproximately
$300,000indnzgproceeds.OnM arch21,2019,CS 2contacted(434)857-6954and arranged
forthetransferofdrug proceedsforalocation in Axton,Virginia.Atapproxim atyly 5:03p.m .,

CS2receivedatelephonecallfrom amale,believedtobeESCARCEGA-AViIa,from (434)
857-6954.ESCARCEGA-AViIatold CS 2 thathewould be sending someoneelseto deliverthe

U .S.Currency.

       20.    Surveillance team s were in place to observe the transaction,and saw

ESCARCEGA-AViIaand ALVAREZ-COnSUeIO traveling in tandem ,bu$in separatevehicles,to

thedesignatedtransaction location.ESCARCEGA-AViIa wasdrivingthe sam eblueHondavan

obsenred athisresidencein Ridgeway thepreviousday,and believedto be observed atthe

residenceofALVAREZ-CQIISUeIO.AlavAlkEz-consuelo wasdriving aburgundy and silver

Dodgetnzck registered in hisown nam e. Onceatthetransaction location,am ale,identified by

law enforcementofficersasALVAREZ-Consuelo,6exited hisvehicle and obtained agreen bag

from thetruck hew asdriving.Law enforcem entlaterdetermined the green bag contained

approxim ately $300,320 U .S.Currency.AlavAu z-consuelo gavethegreen bagto CS 2,who


5DEA RlkO w asunable to confrm the license plate on the blue H onda van due to the distance
         .

the van w asparked from the street.

6A review ofa covertvideo recording ofthe transaction allowed agentsto positively identify
ALVA1tEZ-Consue1o astheindividualwho handed thegreen bag to CS 2. CS 2 also positively
identiied a photograph ofA LVA REZ-COnSUeIO asthe individualwho gave C S 2 the green bag.


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placed itin thetnzrlk ofCS 2'svehicle.Approxim ately two m inutesafterCS 2 leftthe

designated locatiolt ESCARCEGA-AViIa anived atthetransaction location in hisblueHonda
van and appearedto m eetwith ALvAM z-consuelo.

                         ControlledBulk Cash Delivery:July 17,2019

       21.     During theinvestigation,theDEA RRO provided assistanceto DEA 2 fora

transferofdrugtrafûckingproceedssetto occurin Axton,Virginia,on behalfofthesnme

intem ationalDTO/M LO involved in thiscase.DEA 2 CS received acontractto launderm oney

forCJNG and wasgiventhetelephonenumberofthecontactperson forthebulk cashtransfer,

anunknownindividualusing(434)857-6409.
       22. OnJuly 17,2019,CS2 contaded (434)857-6409andarrangedforthetransferof
dnlgproceedsforalocation in Axton,Virginia.Atapproximately 2:12 p.m .,CS 2 received a

telephonecallfrom amale,believedtobeESCARCEGA-AViIa,7from (434)857-6409.
ESCARCEGA-AViIa told CS 2 thathe would besendingsomeoneelseto delivertheU .S.

Currency. CS 2 received atextmessagefrom ESCARCEGA-AViIa,instructingCS 2 to m eetat

11170 Chathnm Road,Axton,Virginia,which istheaddressofadollarstore.'




?DEA RRO determinedthatESCARCEGA-AViIawasutilizing (434)857-6409atthattime
basedon aFederaltraclcing warrantthatwasreceived on August8,2019,from U.S.M agistrate
JudgeJoelC.Hoppe,inCharlottesville,Virginia.Thattrackingwarrantshowedthat(434)857-
6409 wasmostly located in the sam eareaofESCARCEGA-AViIa'Sresidence,previously
identifedbythenzsecallconductedbytheHCSO deputyinM arch 2019.(434)857-6409was
also Gtpinging''in thesame area ofthetelephonenumberusedbyESCARCEGA-AViIato
coordinatethedrugproceedstransferin M arch 2019. Furthermore,thetracking warrantshowed
that(434)857-6409traveledtotheareaofthesharedresidenceofALvAlkEz-consueloand
RO SA LES-A IVareZ residence on severaloccasions,sim ilarly to the m ovem ents of
ESCARCEGA-AViIa during priorm oney transactions.
8Based on information gained duringthisinvestigation, thisDTOJM LO had previously m ade
exchangesofbulk cash from drug traffickingproceedsatadollarstorein Axton,Virginia.


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       23. Followingthetelephonecallsbetween(434)857-6409 andCS 2,telephonetoll
analysisshowsthat(434)857-6409called(276)403-2134.Afterobtainingafederaltracking
wan'
   antforlocation information fortelephonenumber(276)403-2134,1aw enforcement
concludedthatALVAREZ-COnSUeIOwasusing(276)403-2134,basedonsurveillance
confirm ing the locations rd urned through w arrant.g

       24.     Based onpreviousm oney pickupsin thesam e/area,DEA lkRO setup sulweillance

intheareaof290 and 324 Haislip Lane,Axton,Virginia.TheDEA RRO obsetved a.1990 red

Toyotavehicleloleave 290 Haislip Lane, driveto theAxton DollarGeneralstore,and sitin the

parking 1otforseveralm inutes. The 1990redToyota lefttheDollarGeneralparking 1otand

droveback to 290Haislip Lane.Based on my training and experience,Ibelievetheindividual

drivingthe1990redToyotadrovetotheDollarGeneralparkinglottoYterminewhetherthere
w as a law enforcem entpresence in the area priorto the transaction.

       25.     Atapproxim ately 2:51p.m .,CS 2 received artincomingtelephone callfrom

ESCARCEGA-AViIaon(434)857-6409.ESCARCEGA-AViIastated,çswhatlcindoLcarare
you in.''CS 2 respondedwith the description ofhis/hervehicle.ESCARCEGA-AViIa




9Law enforcem entconfirmed thelocation infonnation received onthisphonewaspinging
regularly in the location ofAtvvAlv z-consuelo'sshared residencewith ROSALES-Alvarez.
On oraboutAugust13,2019,thelocation inform ation provided during the operation ofthe
trackingwarranton(276)403-2134appearedaspecificlocationintheareaofM artinsville,
namely aresidencein Collinsville,Virginia.Onthatoccasion,DEA RRO contacted HCSO to
conductsurveillancetofurtherconfirm theindividualoperating(276)403-2134 atthattimein
Collinsville,Virginia. HCSO observed aDodgetruck,registered toALVAREZ-COnSUeIO and
seen being operated by ALVAREZ-Consuelo,atthe speciticresidentiallocation ide'ntifedby the
trackingwarrantforthemlmber.Thistruck wastheonly vehicle located attheresidenceon that
occasion,and w asthe sam e tnzck observed by 1aw enforcem entduring the M arch 2019 delivery
ofbulk cash madeby ALVAREZ-Consuelo.
10Theregistered ownerofthisvehiclewasCarlaALVAREZ, a relative ofA LV AREZ-COnSUeIO
and R O SA LES-A IVr eZ.

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responded,G'givethecode/key to theguy to confirm it'stherightnumber.''ll ESCARCEGA-

Avilaasked CS 2 to callwhen he/shewasatthelocation,told CS 2 to look for<ça littleToyota,''

and advised he would tdcallhim .Heshould be closetoyou.''

       26.    Sulweillanceteam sobserved CS 2 and ablueToyotapickup'
                                                                   arriveattheDollaz

Generalparking 1otwithin m inutesof8ach Other.CS 2 exited his/hervehicleand m etwith the

driveroftheblueToyotapickup tnlck. CS 2 walked around to the driver'sside ofthebed ofthe

truck and retrieved an anim alfeed bag thatcontained $99,985'in drugproceeds. Surveillance
teamsobserved theblue Toyotapickup tnzck pullinto 324 Haislip Lane,Axton,Virginiaafter

leaving theDollarGeneralstore.Surveillanceteam sidentifiedM eliton ROSALES-AIVaKZas

thedriverand only occupantofthe blueToyotapickup truck. CS 2 positively identified a

photograph ofM eliton ROSALES-AIVareZ asthedelivery driverofthemoney drop off

                       ControlledBulk Cash Delivery:October8,2019

              ln October2019,DEA 3 CS provided DEA 3 with inform ation indicating thata

transferofapproxim ately $1,200,000 in drug trafdckingproceedsf'
                                                               rom the intem ational
DTO/M LO wastooccurintheAxton,Virginia,area.DEA 3 CS received acontractto launder

moneyforCJNG andwasgiven(434)857-6409astheindividualtocontacttocoordinatethe
transfer.

       28.    On October8,2019,ESCARCEGA-AViIa contacted an undercoveragentfor

DEA 3(CCDEA 3UC'')using(434)857-6409toarrangethedetailsofthemoneytransfer.
ESCARCEGA-AWIainstnzctedDEA 3UC tomeetattheDollarGeneralstore,locatedat11170
Chathnm Road,Axton,Virginia.Thataddressisthesnm elocation forthem oney transferin July



1lThe individualsoperatingtheinternationalDTO/M LO thathad contacted DEA 3 CS to
arrange forthem oney transferprovided him/herwith aspecificserialntunberfrom a onedollar
billin U .S.Currency. Thatserialnum berw asto be used during the m oney transfer. ''

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                                                                                                  ktkh
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2019,andistheaddressfortheDollarGeneralstore.DEA 3UC andaconfidentialsource(QICS
3') drovetotheDollazGeneralandwaitedonthedeliveryofdrugproceeds.Atapproximately
6:37p.m .,aHispanicmaledriving an olderblue Toyotatruck,known to beM eliton ROSALES-

Alvarez,anived atDollarGeneraland walked inside.ROSALES-AIVareZ approached DEA 3

UC insidetheDollarGeneraland DEA 3 UC directed ROSALES-Alvarez to speak with CS 3,

who wasstillin thevehicle.ROSALES-AIVareZ asked the CS 3 to follow him to adifferent

location to conductthetransaction,butCS 3 declined to leavethatlocation.R0SALES-Alvarez

returned to theBlue Toyotapickup and wasobserved on hiscellulartelephone. At

approximately 6:50p.m .,DEA 3 UC observed awhiteToyota Ttmdra aniveattheDollar

Generaland park besidetheUC vehicle. An tmidentified Hispanicmaleexited thewhite Toyota

and ROSALES-AIVreZ approached CS 3 in theUC vehicle.CS 3 obtained alargeblack

suitcaseand a sm allerblack shoulderbag containingthedrug proceedsfrom theunidentified

Hispanicmqleand ROSALES-A1varez.

      29.    Agentssearchedthetwo bagsand observed severalvacuum-sealed bagsofUSC

withm itingon them .TheUSC wastransported to DEA RR.
                                                   O forprocessing.TheUSC bundles

werenum bered 1through 56 and each contained approximately $20,000 USC.Law enforcem ent

laterdeterm inedthe suitcase and shoulderbag contained $1,121,854 U.S.Cuzrency.
      30.    Following them oney transfer,ESCARCEGA-AViIa madeaseriesofoutgoing

telephonecallsfrom (434)857-6409toDEA 3UC requestingtheçscode''thatwassupposedto
be given tothe courierfollowingthereceiptoftheUS Curreney.Thecomier,ROSALES-

Alvarez,hadneglectedto getthe codefirst.DEA 3UC sentESCARCEGA-AViIa aphotograph

oftheGscode''viaESCARCEGA-AViIa'SW hatsApp encrypted accotmt,which islinked directly

tothenllmber(434)857-6409.


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                                        C O N CLU SION

                Based on theaforementioned,thereisprobable causeto believethat,starting at

an unknown datebutpo laterthan M arch 2019 and October2019,in the.W estel'
                                                                         n Districtof

Virginiaand elsewhere,AlejandroESCARCEGA-AViIa,FranciscoALvAlkEz-consuelo,and
M eliton ROSALES-A1varez,lcnowingly cohspiredw ith each other,atld others,to com mit

offensesagainsttheUnitedStatesinviolationof18U.S.C.j 1956,specifically:
                a. ' to knowingly conductand attemptto conductafinancialtransaction

         affecting interstateand foreign com merce,which involvedtheproceedsofa specified

         unlawfuladivity,thatisconspiracy to com mitdrug trafficlcing and dl'
                                                                            ug trafficking in

         violationof21U.S.C.jj8
                              ,41(a)and 846,withtheintenttopromotethecarryingonof
         specifiedunlawfulactivity,thatisdrugtraftk kinginviolation of21U.S.C.jj841(a)
         and 846,and thatwhileconducting and attemptingto conductsuch financialtransaction

         ltnew thattheproperty involved in thefinancialtransaction representéd theproceedsof

         somefonnofunlawf'
                         ulactivityinviolationof18U.S.C.j1956(a)(1)(A)(i),
allinviolationof18U.S.C.j1956(h).
                                             Respectfully subm itted,
                                                  /
                                             ChristopherN . oung
                                             Task Force Officer
                                             D nlg Enforcem entAdm inistration



Sw orn     a d subscribed before m e this     day ofJanuary,2020



TH E H ON OM BLE R OBERT S.BA LLO U
U NITED STATES M A G ISTM TE JU DG E
W ESTERN D ISTR ICT OF V IRG W IA

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